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                      Exhibit 16
        FILED UNDER SEAL
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  1                   UNITED STATES DISTRICT COURT
  2                   EASTERN DISTRICT OF LOUISIANA
  3
  4
  5      IN RE: XARELTO              )     MDL NO. 2593
         (RIVAROXABAN)               )
  6      PRODUCTS LIABILITY          )
         LITIGATION                  )     SECTION: L
  7                                  )
                                     )
  8                                  )     JUDGE ELDON E. FALLON
         THIS DOCUMENT               )
  9      RELATES TO ALL              )
         CASES                       )     MAG. JUDGE NORTH
 10                                  )
 11
 12
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 13
                                     - - -
 14
                              November 10, 2016
 15
                                      - - -
 16
             Oral videotaped deposition of HENRY I.
 17    BUSSEY, PHARM.D., FCCP, held at the Lambert Law
       Firm, 701 Magazine Street, New Orleans, Louisiana,
 18    70130, commencing at 9:02 a.m., on the above date,
       before Kari J. Behan, Certified Court Reporter
 19    (#97019), Registered Professional Reporter,
       Certified Realtime Reporter.
 20
                                      – – –
 21
 22
 23
 24
                        GOLKOW TECHNOLOGIES, INC.
 25                  877.370.3377 ph - 917.591.5672

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 14
 15    THE VIDEOGRAPHER:
 16        DARREN GUSTELLA, VIDEOGRAPHER
               GOLKOW TECHNOLOGIES, INC.
 17
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 19
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  1          Q.   Would you agree with that, that it's an
  2    unanswered question what the role is for
  3    laboratory monitoring with new -- excuse me --
  4    anticoagulants?
  5          A.   Yes.
  6          Q.   And in the view of NHLBI, it's also an
  7    unanswered question whether new technologies can
  8    help better define those at risk of bleeding or
  9    thrombosis with the use of new oral
 10    anticoagulants.        Do you see that?
 11          A.   Yes.
 12          Q.   Would you agree with NHLBI that that is an
 13    unanswered question?
 14          A.   Yes.
 15          Q.   You can go ahead and put that aside if you
 16    want.
 17               All right.      Let's mark this as Exhibit 12.
 18               (Exhibit 12 was marked for
 19               identification.)
 20    BY MR. STOFFELMAYR:
 21          Q.   And, sir, Exhibit 12, is a 2014 article by
 22    Dr. Lippi and some co-authors, correct?
 23          A.   Yes.
 24          Q.   And you recall this is another one of the
 25    articles that you cite and rely on --

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  1          A.   I'm sorry.      Can we take a --
  2          Q.   Sure, of course.
  3          A.   -- quick break?
  4          Q.   Yeah, absolutely.
  5               MR. COVEY:
  6                    Absolutely.
  7               THE VIDEOGRAPHER:
  8                    We are off the record.           Time is 2:25
  9               p.m.
 10               (Brief recess taken.)
 11               THE VIDEOGRAPHER:
 12                    This begins Tape No. 5.           We are now
 13               back on the record.         The time is 2:28 p.m.
 14    BY MR. STOFFELMAYR:
 15          Q.   Picking up where we left off, there's no
 16    government agency, at least in the United States,
 17    who's ever recommended to physicians using a PT
 18    test to help them care for rivaroxaban patients,
 19    is there?
 20          A.   Not that I'm aware of.
 21          Q.   And the American Heart Association, the
 22    National Stroke Association, they've also never
 23    made a recommendation to physicians to use a PT
 24    test in the care of rivaroxaban patients?
 25          A.   Not that I'm aware of.

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  1          Q.   So the American College of Chest
  2    Physicians has never given any guidance to doctors
  3    that they should use a PT test in the care -- in
  4    their care of rivaroxaban patients?
  5          A.   I don't know.
  6          Q.   And the American College of Cardiology has
  7    never made a recommendation to physicians to use a
  8    PT test in the care of rivaroxaban patients?
  9          A.   I don't know.
 10          Q.   Do you know of any medical professional
 11    organization that has recommended using a PT test
 12    with rivaroxaban patients?
 13          A.   No.
 14          Q.   You still have page 4 of your report in
 15    front of you?
 16          A.   Okay.
 17          Q.   So we read a couple sentences.             If you go
 18    down a -- a few sentences, there's a sentence that
 19    begins, "Such findings would suggest..."
 20          A.   Okay.    Can you show me where you -- where
 21    it is?     That may help.
 22               MR. MCWILLIAMS:
 23                     Right here (indicating).
 24    BY MR. STOFFELMAYR:
 25          Q.   If you don't mind, Mr. McWilliams will

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  1                       REPORTER'S CERTIFICATE
  2

  3            I, KARI J. BEHAN, CCR, RPR, CRR, Certified
  4    Court Reporter (LA Certificate #97019), as the
  5    officer before whom this testimony was taken, do
  6    hereby certify that HENRY I. BUSSEY, PHARM.D.,
  7    FCCP, after having been duly sworn by me upon
  8    authority of R.S. 37:2554, did testify as
  9    hereinbefore set forth in the foregoing 338 pages;
 10            That this testimony was reported by me in
 11    stenotype reporting method, was prepared and
 12    transcribed by me or under my person direction and
 13    supervision, and is a true and correct transcript
 14    to the best of my ability and understanding;
 15            That the transcript has been prepared in
 16    compliance with transcript format guidelines
 17    required by the complete arrangement, financial or
 18    otherwise, with the person or entity making
 19    arrangements for deposition services;
 20            That I have acted in compliance with the
 21    prohibition on contractual relationships, as
 22    defined by Louisiana Code of Civil Procedure
 23    Article 1434 and in rules and advisory opinions of
 24    the board;
 25            That I have no actual knowledge of any

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  1    prohibited employment or contractual relationship,
  2    direct or indirect, between a court reporting firm
  3    and any party litigant in this matter nor is there
  4    any such relationship between myself and a party
  5    litigant in this matter.           I am not related to
  6    counsel or to the parties herein, nor am I
  7    otherwise interested in the outcome of this
  8    matter.
  9            Signed this day, the November 17, 2016.
 10

 11

 12

                      _______________________________________
 13                   KARI J. BEHAN, CCR, RPR, CRR
                      Certified Court Reporter
 14                   LA Certificate #97019
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